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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Charlottesville Division

   ELIZABETH SINES, ET AL.,                         │
                                                    │
                  Plaintiffs,                       │
                                                    │
          v.                                        │ Civil Action No. 3:17-cv-00072
                                                    │
   JASON KESSLER, ET AL.,                           │
                                                    │
                  Defendants.                       │
                                                    │

    DEFENDANTS LEAGUE OF THE SOUTH, MICHAEL HILL, & MICHAEL TUBBS’S
                             WITNESS LIST

          COME NOW Defendants League of the South, Michael Hill, and Michael Tubbs, by and

   through Counsel, and state that they may call any or all of the following witnesses:

      1. Any witness on plaintiffs’ or any co-defendant’s witness list that has not been otherwise

          objected to by defense counsel.

      2. Any witnesses necessary for rebuttal or impeachment purposes.

      3. J.C. Adams

      4. Ike Baker

      5. Any party to this lawsuit

      6. Dennis Durham

      7. Erika Smith

      8. Bradley Griffin

      9. Spencer Borum

      10. Charlottesville Police Officer Sgt. Newberry

      11. Harold Crews



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           Defendants reserve the right to amend this list in light of new information developed

   before or during trial.

                                                        Respectfully submitted,

                                                        /s/ Bryan J. Jones____
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                                                        Counsel for Defendants Michael Hill,
                                                        Michael Tubbs, and League of the South

                                   CERTIFICATE OF SERVICE

           I certify the above was served on September 7, 2021 on all ECF participants and that
   parties requiring service by other means were served as follows:

   Elliott Kline a/k/a Eli Mosley: eli.f.mosley@gmail.com & deplorabletruth@gmail.com
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                                                        /s/ Bryan J. Jones____
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                                                        Counsel for Defendants Michael Hill,
                                                        Michael Tubbs, and League of the South



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